Case: 1:18-cv-02861 Document #: 119 Filed: 05/20/19 Page 1 of 5 PageID #:1378
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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION


PEOPLE OF THE STATE OF ILLINOIS
                                                                 FILED
ex re!. KWAME RAOUL, Attorney General                              MAys020t9oJ
of the State of lllinois,                                       THOMASG. BRUTON
Plaintiff,                                                   CLERK U.S. DtsTRtcT couRT


V.                                                 No. 1 :18-cv-2861
                                                   Judge Andrea R. Wood
SUBURBAN EXPRESS, INC. ; ALLERTON
CHARTER COACH, lNC.; and DENNIS
TOEPPEN, individually and in his otficial
capacity as owner,
Defendants.

FILING TO ADVISE COURT AND PLAINTIFF OF COMPLIANCE
WITH 3(a) $t 00,000 PAYMENT REQUTREMENT

1) On May 15,2019, defendant Toeppen caused a check for
$100,000 to be hand-delivered to plaintiff , roughly five months prior to
mutua!!y-agreed deadline.

2) Although 3(a) calls for defendant to tender a cashier's check, a law
firm's check was tendered pursuant to mutual agreement of the
parties.

3) A redacted image of said check is attached as Exhibit A.
Case: 1:18-cv-02861 Document #: 119 Filed: 05/20/19 Page 2 of 5 PageID #:1378




I declare under penalty   of perjury that the foregoing is true and
correct.


O^1*
Dennis Toeppen

Respectfully submitted May 15, 2019 by Defendant Toeppen,
representing himself and both of his businesses in his role of sole
stockholder and president of both.
Case: 1:18-cv-02861 Document #: 119 Filed: 05/20/19 Page 3 of 5 PageID #:1378


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                             EXHIBIT A
 Case: 1:18-cv-02861 Document #: 119 Filed: 05/20/19 Page 4 of 5 PageID #:1378



                                                                                LruneK.McNrr-v
                                                                                Partner

                                                                                321 North Clark Stcet                                  Dlrcct 312.M
                                                                                Suite 23fi)                                            Mrln 312&
                                                                                Ghicago, lL 60654                                      Fax '@loob.oom
                                                                                                                                             312.896.




                                                                               Vh Hand-Delivery

  May 15, 2019


  Alison Hill
  Office of the Attomey General of lllinois

 100 W. Randolph Street, 1lth Floor
 Chicago, lL 60601

 Re:       Peode of the State of ttlinois v. SuburDan Expless, Case No. i}-cv-02861 (N.D.lll.)

 Dear Alison:

 P-ursuantto Paqgraph 3(a) of the Consent Decreefiled in the abone-entifled action, and
                                                                                        on behalf
 of defendants Suburlcan Express lnc., Allerton Gharter Coach, lnc. and Dennis                                                                          Toeppen,
 enclosed please find a check #127027 for $100,000.00 payable to'Attorney Oeneralt
                                                                                        Consumer
 Trust Account.' Please direct all correspondene relatihgio this action to [l;r. roepfen.

 Sincerely,




 Laura K. McNally
 Partner

 check #127027

cc: Mr. Dennis Toeppen




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